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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO

REGAN CARROLL TRUST, Regan
Carroll, trustee,

Plaimiff,
V.

CITY AND COUNTY OF SAN
FRANCISCO, SAN FRANCISCO
DEPARTMENT OF BUILDING
INSPECTION, SAN FRANCISCO
BUILDING INSPECTION
COMMISSION, SAN FRANCISCO
PLANNING DEPARTMENT

Defendants.

 

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ACTION NO: C-07-2577 SBA

PLAINTIFF’S OPPOSITION TO
DEFENDANTS’ MOTION TO
DISMISS

Hearing Date: February 26, 2008
Time: 1:00 p.m.

Place: Courtroorn 3
]udge:

Hon. Sandra Brown Armstrong

 

 

 

1

Opposition to Defendant’s Mot'lon to Dismiss

007-2577

 

 

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l. INTRODUCTION

This case is not about land use decisions made in the ordinary course
by a local bureaucracy. It is not about the merits of properly-executed adjudicatory
decisions. lt is about the arbitrary singling out of a permit applicant for egregious,
unfair, and capricious treatment because he would not dance to the tune of a
powerful neighborhood association.

As will become clear, in much regard, the parties’ arguments do not
clash because the City ignores Carroll’s central allegation - the permit Was approved
and was ready for his pickup when a member of DNA instructed a rogue City
planner to recall (i.e., snatch) it. While this motion is not the City’s answer, and the
City is not obligated to deny the allegation per se, it is obligated to address its
arguments to the allegations and not attempt to convert them into something else - a
denial of his permit via the regular and proper adjudicatory process. The City never
explains why, if the permit were not originally issued, it was necessary for a DNA
member to force the recall. Perhaps Carroll should flesh out his factual position
better, which he discusses below, but that is a wholly different proposition. Contrary
to the City’s argument, Carroll does not consider this Court to be the Grand Mui`ti of
the Planning Department. (MPA at 9:22-23) He is not asking it to review regularly-
constituted substantive determinations relevant to his application. He has no reason
to, because the Planning Department approved it. To the extent the City claims it is
constitutional to discriminate against its citizens for standing up to a bully
neighborhood association, that is undercut by the United States Supreme Court’s

decision in Village of Willowbrook v. Olech, 528 U.S. 562 (2000).

 

 

 

 

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II. FURTHER LEAVE TO AMEND SI-IOULD BE GRANTED
A. The Standard Favor Leave To Arnend

Motions to dismiss for failure to state a claim are disfavored. (Gilligan
v. lamco Dev. Cor_'p., 108 F.3d 246, 249 (9th Cir.1997)) FRCP 12(b)(6) dismissals are
proper only in “extraordinary” cases. (United States v. City of Redwood Citv. 640
F.Zd 963, 966 (9th Cir.1981)) In dismissing for failure to state a claim, “a district
court should grant leave to amend even if no request to amend the pleadings was
made, unless it determines that the pleading could not possibly be cured by the
allegation of other facts.” (Doe v. United States, 58 F.Sd 494, 497 (9th Cir.1995))
Rule 15 instructs that “leave shall be freely given when justice so requires.” Courts
therefore generally grant leave to amend unless there is a substantial reason to deny
it, such as “undue delay, undue prejudice to defendants, [or] futility.” (Carruthers v.
BSA Advertising, Inc., 357 F.Sd 1213, 1218 (11th Cir. 2004); Thomas v. Town of Davie,
847 F.Zd 771, 773 (11th Cir. 1988))

There is no reason to deny leave to amend in this case. There clearly
has been no undue delay, and defendants do not argue that they will be prejudiced
by the amendment. Perhaps Carroll has not sufficiently pled his complaint to date.
However, this is not a run-of-the-mill development dispute, an argument over
whether an interpretation was proper, or even whether the Planning Department
followed the law. Instead, it is about the abject abuse of government power to clamp
down on a disfavored person whom the local neighborhood governing group hates
and wishes to injure. As even the City’s cases show, in such instance, the

Constitution does provide protection. Carroll should be given a final opportunity to

 

 

 

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plead his case with whatever particularity the Court deems necessary under FRCP
8(a).1 Furtherrnore, Carroll should not be required to prove up his proposed
amended facts because he has not had the opportunity to take discovery. “[W]here
the proof is largely in the hands of the alleged conspirators, dismissals prior to giving
the plaintiff ample opportunity for discovery should be granted very sparingly.”

(Murrow Furniture Galleries Inc. v. Thomasville Furniture lnd. Inc., 889 F.2d 524,

 

529 (4th Cir. 1989)) Though Murrow involved anti-trust, proof of what Regan Carroll
seeks to redress is also largely in the hands of Defendants.

B. Proposed Amendrnent

 

Carroll proposes to add the following allegations:

The Dogpatch l-Iistoric District was initiated by DNA; it was not a City-
initiated district. DNA paid for the report which was used to create the odd»shaped,
non-contiguous district for the purpose of enabling DNA members to prevent
construction to which they objected but which could not be opposed on any existing
grounds. DNA did not follow the U.S. Secretary of lnterior’s standards in the
creation of the district. Carroll’s property is an empty lot and is surrounded by
several other parcels which are considered non-historic, yet they are included in the

district. On the other hand, properties on the other side of the same street are not

 

1 Given the notice pleading standard clarified by Leatherman v. Tarrant Countv
Narcotics Intelligence and Coordination Unit. 507 U.S. 163 (1993) and Crawford-El v.
Britton, 523 U.S. 574 (1998), it is probable that a motion to dismiss is inappropriate
for a claim of this type unless the pleading is wholly conjectural and vague. The City
relies on numerous cases, e.g., Chongris v. Board of Appeals, 811 F.Zd 36 (lst Cir.
1987), which do not appear to have survived this jurisprudence (w Feliciano v.
DuBois, 846 F.Supp. 1033, 1042 (D.Mass. 1994) citing Chongg's, et al.)

 

 

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included. DNA intentionally had Carroll’s property included in the district so that it
could thwart his development of it at the behest of various powerful individuals,
including the City Attorney, who lives across the street, and members of DNA.

In 1999, at a meeting with members of the predecessor of DNA (Lower
Potrero Hill Neighborhood Association (“LPHNA”)) after Carroll and his elderly
mother had obtained a demolition permit for the original building, group members
objected and wanted to keep the structure, which was dilapidated and not
economically feasible to repair. When Carroll politer stated that retention was not
practical, and indicated that he was willing to stand up to them to support his rights,
he was essentially told that he was outnumbered and that they could force him to do
what they wished. The group then told Carroll that they were undertaking a process
to create “a historic designation” for the Dogpatch area and would use that
designation to force the structure to be preserved.

At one point, members of DNA protested Carroll’s demolition permit
but did not challenge his construction permit. After he won the demolition permit
challenge, DNA sought rehearing, claiming that they were unaware of the need to
challenge both permits. Carroll pointed out that a few year earlier, some of the same
people had protested both his demolition and construction permits at another,
unrelated, project. In other words, Carroll showed DNA up as liars. Furthermore, in
2001 or 2002, DNA attempted to get a neighborhood dog destroyed. Carroll helped
the family who owned the dog to file a writ petition to overturn the order. Dennis
I-Ierrera, now San Francisco’s City Attorney, personally called Carroll with a

profanity-laden tirade. Herrera lives across the street from the property and has an

 

 

 

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actual interest in thwarting the construction, both due to his long-standing personal
animus against Carroll and due to the fact of the project.

Over time, members of DNA became even more politically connected,
with the ability to demand department action by e-mail. This influence extended to
being able to have planner Corrette, who assisted DNA in the designation process,
remove the permit. In fact, Lawrence Badiner was aware of the DNA’s desire to
snatch the permit and actually approved Corrette’S action. Corrette had also
instigated actions at the behest of DNA that led to a wrongfully-issued “Stop Work
Order” which shut Carroll down after he had spent more than $30,000 excavating the
foundation pursuant to a properly-issued excavation permit. Ironically, the
concessions DNA wanted on the project were the same concessions that the City
wanted in order to reinstate the permit.

Furthermore, property owners who accede to DNA’s demands, whether
regarding the scope of their project or for payments to various funds, are given
approval. I-Iowever, Carroll, who insisted on standing on his rights and not caving in
to design and monetary pressure, had his permit revoked by order of DNA. Indeed,
there was no determination that his project would not pass any objective criteria
related to Dogpatch as a historic neighborhood

III. CARROLL CAN STATE A CLAIM UNDER 42 USC 1983

 

 

A. Substantive Due Process
l. 'I'argeted Governmental Conduct Can Rise To A Constitutional
Level

Contrary to Defendants’ arguments, substantive due process does

 

 

 

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protect persons, including property owners, from targeted government animus,
provided that the level of animus is high enough.

[A]n individual also may state a claim under the Equal

Protection Clause if he can show that state government took

an action that “was a spiteful effort to ‘get’ him for reasons

wholly unrelated to any legitimate state objective.” The

Equal Protection Clause provides a remedy when a

“powerful public official pick[s] on a person out of sheer

vindictiveness.” This type of discrimination has been

characterized as the creation of a “class of one.” (Albiero v.

Cig of Kankal<ee, 246 F.3d 927, 932 (7th Cir. 2001), citations

omitted)

There is also no question that San Francisco has allowed at least one
neighborhood group to control local development and be able to severely injure those
the group disfavor. (Schulz v. Milne, 849 F.Supp. 708 (N.D. Cal. 1994)) In Collier v.
'I'own of Harvard, Civ.A.95-11652-DPW (1997 WL 33781338 (D.Mass. 1997), the
District Court denied a similar motion to dismiss brought by a property owner who
alleged that in order to obtain a development permit, he was being shaken down by
local officials. (Collier, supra, at *1-*3) Collier rejected the analysis presented by
Chongris, on which Defendants here rely, and used such cases as Chiplin
Enterprises. Inc., v. City of Lebanon, 712 F.2d 1524 (Ist Cir. 1983) and Creative
Environments. Inc. v. Estabrool<. 680 F.2d 822 (1st Cir.) to support plainan
Regarding Chongris, the Court stated: “That form of analysis is inapplicable to the

current claim which does not involve procedural due process, but rather implicates

the substantive due process right to be free from governmental coercion.” (Collier,

 

‘°“Even Chongg`s recognized that official behavior can be sufficiently egregious to
“work a breach of the due process clause.” Chongris, supra, 811 F.2d at 43)

 

 

 

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supra, at *4) M then cited numerous cases holding that government conduct
that reaches a truly horrible level of animus against a person does violate due
process. The Court found that “plaintiffs’ allegations here are far more fundamental
than a dispute over interpretation; they touch on corruption of the process.” (M,
supra, at *7)

For instance, Qi_ipl_i_n, which Defendants give great weight, itself stated:
“[t]o be sure, additional factors might give rise to genuine constitutional issues in
cases of this sort.” (M, supra, 712 F.2d at 1527) It also quoted, approvingly,

Creative Environments which stated that even a “conventional lannin dis ute”
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can implicate the Constitution if “tainted with fundamental procedural irregularity .
. .” (Chiplin, supra, 712 F.2d at 1528) Oddly enough, Chip_lin stated:

We hesitate to say that on the face of the complaint the

district court lacked jurisdiction. Chiplin’s right to recover

depends on construction of the Constitution and laws of the

United States, and its claim is not so patently frivolous as not

to involve a federal controversy. (Chip]in, supra, 712 F.2d at

1528)

Deep-seated animosity can support an equal protection claim. (Bell v.
Duperrault, 367 F.3d 703, 709 (7th Cir. 2004)) “Such animosity occurs when ‘a
powerful public official pick[s] on a person out of sheer vindictiveness,’ or when an
official acts ‘for the sole and exclusive purpose of exacting retaliation and vengeance
against’ the plaintiff.” (E.) PFZ Properties, Inc. v. Rodriguez, 928 F.2d 28 (1st Cir.
1991), on which the City relies, states:

“[S]ubstantive due process prevents ‘governmental power

from being used for purposes of oppression,’ or ‘abuse of

government power that shocks the conscience,’ or ‘action
that is legally irrational in that it is not sufficiently keyed to

 

 

 

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any legitimate state interests.”’ (E. at 31-32, citations
omitted)

Thus, while routine, or even heightened irregularities, corruption, or incompetence
do not make a federal case, “[a] different situation may be presented in some
instances, particularly in the realm of equal protection, involving gross abuse of
power, invidious discrimination, or fundamentally unfair procedures.” (Creative
Environments, supra, 680 F.2d at 832) Accordingly, this Court can only grant the
City’s motion if the proposed second amended complaint is conceded to be true but
yet does not shock the conscience or single Carroll out for wrongful treatment
without rational basis. lf` the Court reaches that conclusion, it is basically telling San
Francisco that nothing it does to harm property owners, whether directly or as the
agent of private persons, can ever violate the U.S. Constitution.

As evident in its discussion at 9:5-10:21, the City seeks to mislead that
Court as to the gravamen of Carroll’s complaint Contrary to the City’s discussion, he
does not complain that Planning, either negligently or intentionally, denied his
permit application Indeed, it approved it and had it ready for issuance / pickup.
Accordingly, none of its cases are relevant because he is not challenging a land use
decision. Rather, he challenges a delegation of power decision. He challenges
Planning’s decision to delegate de facto authority over permit issuance to his
neighbors. When DNA ultimately had a change of heart, the City violated Carroll’s
federal civil rights by acting on the power it had improperly ceded to the group.
There is no administrative process that can put a stop to such wrongful conduct.

That was demonstrated by Schulz. Indeed, because it ignores Carroll’s allegations

 

 

 

 

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regarding the fate of his permit, the City cannot point to any state or local remedies,
administrative or judicial, that would redress this violation.

The City’s treatment of §M is erroneous. First, the City argues that
there was no formal delegation of power. (MPA at 11:10-11) Neither ,Smc”l_;_t_iml”;a, nor any
of its progeny require that there be a formal delegation. lndeed, that would mean
that to avoid a constitutional violation, the delegation should be sub rosa. That
would exacerbate violations. Second, in arguing that the pleading is defective, the
City states that Carroll “suggests” that ‘“Planning refused to determine whether the
Application was complete unless DNA approved it.”’ (MPA at 11:14-15, emphasis
added, quoting First Amended Complaint, 11 6) This is erroneous - Carroll does not
suggest it, he clearly and plainly says it: “Planning refused to determine whether the
Application was complete unless DNA approved it.” Further on, the City blithely,
and without any support, claims that DNA “d1'd nor express any views as to the
Application at all after ]une of 2001.” (MPA at 12:7-9, italics in original) This is
contradicted by W 10, 11, which the Court must accept as true, which allege that
Corrette removed the permit “after being contacted by a member of DN ” (1j 10 at
13-15) and that Corrette played an inside role in the designation of Dogpatch as
historic (1] 11).

Then, in contravention of FRCP 8(a), which only requires “a short and
plain statement of the claim showing that the pleader is entitled to relief,” the City
states that Carroll does not allege when he submitted the application to the City.
(MPA at 11:17-18) While that fact may be useful or even necessary to submit to a jury

in order to understand the history of the case, it is not necessary in order to state a

 

 

 

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claim. (Empress LLC v. Citv and County of San Francisco, 419 F.$d 1052, 1055-1056
(9th Cir. 2005))

2. Government Conduct That Deprives Carroll Of A Permit To
Which He Is Entitled Violates Substantive Due Process

The standard in the 9th Circuit is Bateson v. Geisse, 857 F.Zd 1309 (9th
Cir. 1988). The 9th Circuit held that after Bateson had satisfied all permit
requirements, the city’s refusal to issue it constituted a violation of Substantive due
process. (E. at 1303) I-Iere, Carroll did satisfy all the permit requirements The
City’s reliance on the Certificate of Appropriateness is erroneous in this regard
because under the California Permit Strearnlining Act (“PSA”), because the City did
not process his application timely, it lost the ability to impose new requirements.3

“The PSA was enacted in part to expedite decisions on development
projects.” (Findleton v. Board of Supervisors. 12 Cal.App.4th 709, 713 (1993), citing
Gov’t Code § 65921) It was adopted to relieve permit applicants from protracted and
unjustified governmental delays in processing their applications (Bickel v. City of
Piedmont,lG Cal.4th 1040, 1049 (1997)) The PSA requires the agency to notify the
applicant when and why an application is “incomplete” and also when it is
“complete.” (Gov’t Code § 65943) Under the PSA, the City is required to compile
one or more lists specifying in detail the information required for review and
approval of an application for a development project, and to make such lists available

to all applicants and to anyone else who requests them. (Gov’t Code § 65940) Under

 

3 In his second amended complaint, Carroll will allege the facts necessary to show
that he did qualify under the PSA and CEQA (California Environmental Quality Act).

 

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Opposition to Defendant’s Motion to Dismiss
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the PSA, once the agency accepts the application as complete, it cannot require any
further information except to the extent set forth in Government Code § 65944.
Section 65944 allows the agency to “in the course of processing the application,
request the applicant to clarify, amplify, correct, or otherwise supplement the
information required for the application.”

Separately, every project is classified in one of three categories: 1)
categorical exemption/ general rule exclusion; 2) negative declaration (“Neg. Dec.”);
or 3) environmental impact report. (Gov’t Code §§ 65950-65952) Pursuant to
Government Code §§ 65941 and 69550(a)(3), the agency may take steps to comply
with CEQA. If a Neg. Dec. is prepared, the appropriate agency (here, the Planning
Department) then has 180 days from the date the application is deemed complete to
finish the Neg. Dec. (Public Resources Code § 21151.5(a); Guidelines § 1510'1')4 The
PSA sets time limits on processing development permit applications after an
application is determined to be, or deemed, complete. When a project is found to be
exempt from CEQA or a Neg. Dec. is adopted for a project, the agency shall approve
or deny the project within 60 days from the date of the-determination or adoption.
(Gov’t Code § 65950; Public Resources Code § 21151.5) Once the application is
complete and a Neg. Dec. is issued, the agency must approve or disapprove the
development application within sixty days thereafter. (Gov’t Code § 65950(a) (3)) If
not, the applicant may utilize the “deemed approved by operation of law” provisions.

(Gov’t Code § 65956)

 

4 CEQA Guidelines are located at Title 14 of the California Code of Regulations and
are referred to herein as “Guidelines.”

 

 

 

 

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Here, almost two years after the City deemed the application complete
and approved the Site Permit, the City designated the Dogpatch neighborhood in
which the Property is located as a “histotic district” by adopting Appendix L to
Article 10. The City’s insistence that Carroll submit a COA violates PSA§ 65944
because it requires information that was not specified in any list compiled by the City
pursuant to § 65940 before the City found the BPA complete. However, the Ciry had
already conducted an environmental review, and adopted and issued a Neg. Dec. on
]uly 28, 1999. In fact, CEQA expressly fb_rl_)_id_s a subsequent Environmental Impact
Report (“EIR”) unless one or more of the following occurs:

a) Substantial changes are proposed in the project which will require
major revisions of the environmental document;

b) Substantial changes occur with respect to the circumstances under
which the project is being undertaken due to the involvement of new significant
environmental effects which will require major revisions in the environmental
document; or

c) New information, which was not known and could not have been
known at the time the environmental documents was certified or adopted, becomes
available (Pub. Res. Code § 21166 augmented by CEQA Guidelines § 15162) The
California Resources Agency has extended this rule to situations where the approved
environmental document is a negative declaration. (Benton v. Board of Supervisors,
226 Cal.App.Sd 1467, 1478-1480 (1991), upholding Guideline § 1516Z(a))

The designation of Dogpatch as a historic district is not a new

significant environmental effect requiring an updated negative declaration.

 

 

 

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Dogpatch was designated a historic district, but there were no new signiEcant
environmental effects as a result of that designation The previous Neg. Dec.
analyzed and evaluated Carroll’s project in light of the historical significance of the
district even though it had not yet been “officially” designated Carroll will allege
that the Neg. Dec found that the project could not “disrupt or adversely affect a . . .
property of historic . . . sig'nif`icance.” In fact, this situation is very similar to
Chaparral Greens v. City of Chula Vista, 50 Cal.App.4th 1134 (1996) in which the
California Court of Appeal held that where changes in a project or its surrounding
circumstances occur subsequent to the adoption of a negative declaration, no
subsequent EIR shall be prepared unless the lead agency determines that there is a
substantial change in the project which would increase the severity of the previously
identified environmental effects. (lgl_. at 1151 citing Guidelines § 15162)

The City’s reliance on Land Waste Management v. Contra Costa
County Bd. of Supervisors, 222 Cal.App.$d 950 (1990) is inapposite because there, the
permit sought by appellant at the time of submittal was not consistent with
applicable land use and zoning, and required a variance. Here, the City has failed to
show that Carroll’s project was not “appropriate” for Dogpatch - at best all it can do
is show that it dragged its feet on the issue for years and as a result that
appropriateness is not document. Of course, Carroll contends that the City did not
simply drag its feet but actively sabotaged his project. However, the result is the
same - unlike cases where it was clear that the project did not qualify under
applicable substantive land use regulations, issuance of the permit will not, ipso

facto, allow a project that violates zoning regulations to proceed. Accordingly, under

 

 

 

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Bateson, Carroll can state a substantive due process claim.
B. Egual Protection

If he has not sufficiently pled a class of one, Carroll’s proposed
complaint does so. No other Dogpatch-area applicant has been subject of a targeted
campaign to thwart development. No other Dogpatch-area applicant has had its
permit pulled back after hours by a City employee acting at the behest of a
neighborhood group. Planning treated him differently from other people who’s
permits required only pick up because he had displeased DNA. There certainly was
no rational basis for Corrette’s conduct. IfCarroll were not entitled to the permit, the
City should have used the same administrative process it expects him to follow.

There was no rational basis for treating Carroll differently. In arguing
that he was not entitled to the permit, the City mistakes the substantive entitlement
for the procedural classification However, the injury is the denial of equal treatment
not the ultimate inability to obtain the benefit. (Northeastern Florida Chapter of
Assoc. Gen. Contractors of America v. City of lacksonville, Fla. 508 U.S. 656, 666
(1993)) In other words, the focus is not on the rational basis for snatching the permit,
but the rational basis for treating Carroll differently than other applicants who
kowtow to DNA. The key case to consider is Genesis Environmental Services v. San
|oaquin Valley Unified Air Pollution Control Dist., 113 CaI.App.4th 597 (2003), which
discusses M. Genesis recognizes that an equal protection claim focuses on
whether there is a rational basis for the difference in treatment between two
similarly-situated persons. (Genesis, supra, 113 Cal.App.4th at 605) lt then sets forth

the elements of such a claim:

 

 

 

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(1) plaintiff was treated differently from other similarly
situated persons; (2) the difference in treatment was
intentional; and (3) there was no rational basis for the
difference in treatment (Genesis, supra, 113 Cal.App.4th at
605)

Genesis then considered and rejected the City’s exact argument:

the District contends “even if [Genesis] was singled out for
strict enforcement of the Source Test Guidelines, [Genesis]
cannot state a claim if there existed a rational basis for
[Genesis’s] disqualification from the independent contractor
program.” This contention also is contrary to the principles
set forth in Olech . . . which establish that there must be a
rational basis for the difference in treatment of those
similarly situated. In other words, if a rational classification
is applied unevenly, the reason for singling out a particular
person must be rational and not the product of intentional
and arbitrary discrimination (Genesis, supra, 113
Cal.App.4th at 606, emphasis in orig.)

Furthermore, the City did not have a rational basis for its conduct,
classification notwithstanding Because iris an important substantive argument,
Carroll initially addresses the City’s key argument that, even though this is not an
administrative challenge, Carroll must lose because he could not have been issued
the permit that was snatched back. The City argues that building projects must
comply with the Planning Code in effect at the time of permit issuance. (Memo at
8:24) Wells F argo Bank v. 'I‘own of Woodside, 33 Cal.3d 379 (1983) is inapposite
because it involved a specific Gov’t Code prohibition on the subdivision of real
property and requires a finding “that development of such real property is contrary to
the public health or the public safety.” (E. at 385, fn.7) The issue involved was

whether a local subdivision ordinance which purports to

require a surviving widow to obtain local approval of a

division of land resulting from her application in the probate
court to have a portion of a larger parcel of land set apart

 

 

 

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from the estate for her as a probate homestead is “in
conflict” with the state probate homestead law. (E. at 381)

Given that the City did not cite a specific section of the case, it is clear that it is not
relevant.

Second, while it is true that “even after a permit has been issued, it may
be revoked by an administrative body on the basis of a subsequent change in the
zoning laws unless the permittee has made substantial improvements in good faith
reliance on the permit,” (Selby Realty Co. v. City of San Buenaventura, 10 Cal.3d 110,
125 (1973)) the proper administrative body did not revoke the permit - a snatch-and-
grab in the middle of the night -- hardly qualifies. I-Iowever, Petitioner should be
given leave to amend his petition to allege that he did make substantial
improvements in good faith. . . . (E.) More importantly, Selby Realg; stated:

The cases holding that an appellate court will apply the rule

in existence at the time of deciding the appeal appear to be

inconsistent with another line of authority holding that if an

applicant complies with all the requirements for a building

permit at the time the application is made he is entitled to a

permit even though the law has been changed prior to the

decision on appeal. These two apparently conflicting lines

of cases have been distinguished on the ground that the

change in the ordinance is deemed inapplicable if its

enactment stemmed from an attempt to frustrate a particular

developer’s plans. (Russian Hill Improvement Ass’n. v.
Board of Permit Appeals, 66 Cal.2d 34, 37 fn. 5 (1967))

 

As explained above, Regan Carroll will allege that his property was targeted by the
district.

Furthermore, Appendix L - with which the City contends Petitioner did
not comply because he did not obtain a certificate of appropriateness - is noia

zoning ordinance. Zoning laws regulate the geographic allocation and permissible

 

 

 

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uses of land; they represent a considered, specific, and lasting implementation of the
broad statements of policy of the general plan. (United Outdoor Advertising Co. v.
Business, Transportation & I-Iousing Agengy, 44 Cal.3d 242, 249 (1988)) Under
Planning Code § 1006, the appropriateness requirement is not a zoning or land use
law, but simply regulates aesthetics. Indeed, the section excludes interior
alterations. (Martin v. City and Coung; of San Francisco, 135 Cal.App.4th 392, 406
(2005)) Certainly zoning laws regulate the interior of proposed structures, not just
the facades.

More importantly, the City overlooks and misreads the very code
section on which it relies. The City states that building permits must be “in
conformity W1'r]i the Planning Code. . . .” (MPA at 2:23, emphasis added) It also
argues that Carroll did not apply for or receive a Certificate of Appropriateness.
(i\/IPA at 6:17-19) The pertinent language of Appendix L states:

lf such certificate is required and has not been issued, the

permit application shall be . . . held by the Department until

such time as conformity does exist. . . .

This is important because it establishes that what matters is not a piece
of paper (the certificate), but the merits -- where conformity actually exists. In other
words, had the permit not been stolen, and had it been issued to Carroll, then in
order to revoke it, the City/would have had the burden to establish that conformity
did not exist. This is because under the pertinent section, the Department can
process and approve the application as long as there is conformity with whatever is
considered to be appropriate for the neighborhood I-Iowever, it is not proper for the

City to comply with DNA’s instruction to take the permit so that it cannot be issued.

 

 

 

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Through unconstitutional conduct, the City engaged in do-it-yourself` burden
shifting in violation of Carroll’s civil rights.

Ironically, the City admits that on December 2, 2005, that Article 10
review had to be done (MPA at 6:22-23) yet more than two years later nothing has
been done. lt is an utter mystery why the Planning Department of the City of San
Francisco, one of the greatest cities on Earth, cannot determine whether a building
project is appropriate for a neighborhood that is only several square blocks. Perhaps
it would have been done had Planning not been retaliating against Carroll, by losing
his submissions as he will also allege -- whether at its own instigation or at the
direction of DNA. The City simply does not have a rational basis to authorize private
citizens to command employees to remove ready-to-be-issued permits.

C. Carroll’s Claims Are Not Time-Barred

The final act that harmed Carroll was the snatching of the permit by a
government official at the command of a DNA member. In contrast, the City
chooses to consider that it was DNA’s approval in 2001. (MPA at 16:15-18) However,
the City’s decision to pick and choose when it would like the statute to have run does
not make it so.

D. Neither Res ludicata Nor Collateral Estoooel Aot)ly
The City’s boilerplate argument is utterly inapposite. Contrary to the

City’s characterization, Carroll is not challenging a City administrative decision.5

 

6'I`he City states that “unless a party to a quasi-judicial proceeding challenges the
agency’s adverse Endings made in that proceeding. . . .” Calling Corrette’s action a
quasi-judicial proceeding is like calling Watergate a quasi-executive proceeding; it
wasn’t - it was burglary.

 

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Had it denied or revoked his permit in the usual and proper course, by giving him
regular due process ~ notice and a basis for its action - he would simply file a state
court writ of administrative mandate. However, such a claim cannot redress the
denial of his civil rights in the manner that occurred here. Even if he gets his permit
through such a proceeding, the harm he has suffered, and the City’s ability to
continue violating his and others’ civil rights, will continue unabated. There cannot
be any preclusive effect from a non-occurrence Castillo v. City of Los Angeles, 92
Cal.App.4-th 477, 481 (2001), discussing elements of collateral estoppel) Briggs v. City
of Rolling Hills Estates, 40 Cal.App.4th 637 (1995) does not assist the City. It held
that collateral estoppel gave the agency’s factfinding preclusive effect. (Mgg§,
supra, 40 Cal.App.4th at 645-648) What factfinding has there been here?

The City makes two other, related, throw-away arguments: 1) failure to
exhaust state judicial remedies; and 2) 90-day statute of limitations. (MPA at 18:25-
19:7) Neither of these applies because this is purely a civil rights action. A civil
rights plaintiff has no obligation to exhaust administrative remedies. (Patsy v. Board
of Regents, 457 U.S. 496, 515 (1982)) While there may be collateral estoppel problems
from the failure to do so, that is not an issue here, as explained above. As for
Government Code § 650()9, it is inapplicable which the City recognizes earlier in
discussing the applicable statute of limitations. (MPA at 16:19-20; § ali lackson v.
Cedars-Sinai Medical Center, 220 Cal.App.$d 1315, 1323 (1990), recognizing federal
rule in California) Even if Carroll’s civil rights claims were directed to an
adjudicatory decision, California could not force him to bring a § 1983 claim within

90 days.

 

 

 

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E. Carroll’s Claims Are Not Unripe

The same reason Carroll’s claims are not time-barred, or barred by any
preclusive doctrine, applies to the City’s unripeness claim: he is not challenging an
adjudicatory decision. His civil rights have already been harmed and he is entitled to
compensation. Hoehne v. County of San Benito. 870 F.Zd 529, 532 (9th Cir. 1989) is
inapposite because it involved a challenge to a decision made on the merits. There
simply wasn’t one here. Hoehne is where the term “Grand Mufti” comes from. (E.)
Carroll is not asking this Court to be the Grand Mufti and review a merits decision,
but instead, he asks that this Court simply be a Court and exercise its paramount role
in protecting his federal civil rights. (Roach v. Morse, 440 F.Sd 53, 56 (2nd. Cir.
2006), citing Patsy v. Bd. of Rea‘ents, 457 U.S. 496, 516 (1982))

The rest of the City’s argument here is absurd. In discussing the
rationale of ripeness, it cites U.S. Supreme Court law stating that the doctrine
prevents courts “from entangling themselves in abstract disagreements over
administrative policies. . . .” (MPA at 21:12-15) A lawsuit over delegating power to a
neighborhood group in a manner that lets that group then command employees to
snatch permits after hours is an abstract disagreement over administrative policy? If
DNA commanded the permit snatching because it didn’t want some “different type
of person” to huild, that would be an abstract disagreement over administrative
policy? No, it would be the ]ustice Department running San Francisco’s Planning
Department The moment Corrette took that permit from the issuance box, Carroll’s

claims were ripe.

 

 

 

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IV. CARROLL SHOULD BE GIVEN LEAVE TO FIL'E A SUPPLEMENTAL
COMPLAINT

While, in part, count three could be considered supplemental, Carroll
should be given, or allowed to seek, leave to: 1) allege subsequent facts that go to
motive, intent, etc., that do not create a new cause of action but support federal
jurisdiction for his first two counts; and 2) add a supplemental cause of action for
post-filing misconduct The City is absolutely incorrect that a supplemental claim
cannot be a new cause of action. (MPA at 22:15-19) The City relies primarily on
Planned Parenthood of Southem Arizona v. Neely, 130 F.Sd 400 (9th Cir. 1997).6 The
supplemental pleading in Neely was not simply a new cause of action, but a
challenge to an entirely different state statute brought four years after final judgment
(Neely, supra, 130 F.Sd at 402) lt was obviously an exercise in forum shopping. In
contrast, Cabrera v. City of Huntington Park, 159 F..’)d 374, 382 (9th. Cir. 1998) states:

Rule l§(d) permits the filing of a supplemental pleading

which introduces a cause of action not alleged in the original

complaint and not in existence when the original complaint

was filed.” Although Cabrera never filed a formal

“supplemental pleading,” the erroneous characterization of

the corrected pleading as a “second amended complaint” as

opposed to a supplemental pleading is immaterial “This

interpretation of Rule 15(d) is supported by the general

purpose of the Rules to minimize technical obstacles to a

determination of the controversy on its merits.” (Cit. om.)
Furthermore, in discussing Neely, Cabrera noted that its holding was limited to “a

‘separate, distinct and new cause of action’ where the original action between the

parties has reached a final resolution and the district court does not retain

 

7Matsushita Elec. Co. Ltd. v. CMC Magnetics, 2007 WL 127996 (N.D. Cal., 2007)
simply relies on Neely.

 

 

 

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jurisdiction.” (Cabrera, supra, 159 F.$d at 382, fn. 11)
V. CONCLUSION

Regan Carroll recognizes the uphill battle he faces in lighting the
deprivations of his rights to due process and equal protection. However, there are
times when even in the land use context, a government’s actions to thwart a small
developer are so egregious that they do rise to a Constitutional level. This is one of
those. To the extent that Carroll’s pleading needs to be expanded up, he should be
given the opportunity to do so. Otherwise, the motion should be denied.

Date: February 4, 2008 ZACKS UTRECHT & LEADBETTER, P.C.

 

 

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